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                                  4                            IN THE UNITED STATES DISTRICT COURT

                                  5                       FOR THE NORTHERN DISTRICT OF CALIFORNIA

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                                  7      MUDDY WATERS CAPITAL LLC,                        Case No. 19-cv-01293-MMC
                                  8                    Plaintiff,                         ORDER GRANTING DEFENDANT’S
                                                                                          MOTION TO DISMISS
                                  9              v.                                       AMENDED COMPLAINT; GRANTING
                                                                                          IN PART AND DENYING IN PART
                                  10     TULLETT PREBON (SECURITIES)                      PLAINTIFF’S MOTION PARTIALLY TO
                                         LTD., and JOHN DOES 1-10,                        LIFT PSLRA DISCOVERY STAY
                                  11
                                                       Defendants.                        Re: Doc. Nos. 50, 52
                                  12
Northern District of California
 United States District Court




                                  13          Before the Court are the following two motions: (1) defendant Tullett Prebon

                                  14   (Securities) Ltd.’s (“Tullett”) “Motion to Dismiss Amended Complaint Under F.R.C.P.

                                  15   12(b)(2) and (6),” filed May 18, 2020, and (2) plaintiff Muddy Waters Capital LLC’s

                                  16   (“MWC”) “Motion Partially to Lift PSLRA Discovery Stay,” filed May 14, 2020. The

                                  17   matters came on regularly for hearing on October 16, 2020. John P. Stigi III and Bridget

                                  18   J. Russell of Sheppard, Mullin, Richter & Hampton LLP appeared on behalf of Tullett.

                                  19   Jordan Fletcher of Fletcher Law PLLC and Gabriela Kipnis of Conrad & Metlitzky LLP

                                  20   appeared on behalf of MWC. The Court, having considered the parties’ respective

                                  21   written submissions as well as the arguments of counsel at the hearing and, for the

                                  22   reasons stated at the hearing, rules as follows:

                                  23          (1) The Amended Complaint is subject to dismissal pursuant to Rule 12(b)(2) of

                                  24   the Federal Rules of Civil Procedure. In particular, the undisputed evidence

                                  25   demonstrates Tullett neither “purposefully direct[ed] [its] activities or consummate[d]

                                  26   some transaction with the forum or resident thereof” nor “purposefully avail[ed] [itself] of

                                  27   the privilege of conducting activities in the forum.” See Schwarzenegger v. Fred Martin

                                  28   Motor Co., 374 F.3d 797, 800 (9th Cir. 2004) (citation omitted).
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                                  1          Accordingly, the Motion to Dismiss is hereby GRANTED, and the Amended

                                  2    Complaint, as alleged against Tullett, is hereby DISMISSED without prejudice.

                                  3          (2) The Motion Partially to Lift PSLRA Discovery Stay is hereby GRANTED IN

                                  4    PART and DENIED IN PART:

                                  5                 (a) To the extent MWC seeks an order allowing it to propound

                                  6    interrogatories to Tullett, the Motion is hereby DENIED.

                                  7                 (b) To the extent MWC seeks an order allowing it to continue seeking

                                  8    discovery from Tullett pursuant to the Letter of Request issued by Magistrate Judge Sallie

                                  9    Kim (see Doc. No. 37), the Motion is hereby GRANTED.

                                  10         IT IS SO ORDERED.

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                                  12   Dated: October 16, 2020
Northern District of California
 United States District Court




                                                                                              MAXINE M. CHESNEY
                                  13                                                          United States District Judge
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